Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 1 of 7 PageID #: 419
Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 2 of 7 PageID #: 420
Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 3 of 7 PageID #: 421
Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 4 of 7 PageID #: 422
Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 5 of 7 PageID #: 423
Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 6 of 7 PageID #: 424
Case 2:09-cr-00021-JPB-JSK Document 150 Filed 04/25/14 Page 7 of 7 PageID #: 425
